                  Case 19-51071-JKS               Doc 39        Filed 11/02/21      Page 1 of 4




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                      Chapter 11

WOODBRIDGE GROUP OF COMPANIES, LLC, et                                      Case No. 17-12560 (JKS)
al.,1
                                                                            (Jointly Administered)
                                     Remaining Debtors.

MICHAEL GOLDBERG, in his capacity as
Liquidating Trustee of the WOODBRIDGE
LIQUIDATION TRUST,                                                         Adversary Proceeding
                                                                           Case No. 19-51071 (JKS)
                                     Plaintiff,
                        vs.

EDUARDO G. DIAZ and DIAZ RETIREMENT
CONSULTANTS,

                                     Defendants.                           Ref Docket No. 36

                                         AFFIDAVIT OF SERVICE

STATE OF OHIO                       )
                                    ) ss.:
COUNTY OF FRANKLIN                  )

ANGELA CHACHOFF, being duly sworn, deposes and says:

1. I am employed as a Case Manager by Epiq Class Action and Claims Solutions, Inc., located
   at 5151 Blazer Parkway, Suite A, Dublin, Ohio 43017. I am over the age of eighteen years
   and am not a party to the above-captioned action.

2. On October 28, 2021, I caused to be served the “Order Approving Stipulation Regarding
   Plaintiff's Motion for Default Judgment,” dated October 28, 2021 [Docket No. 36], by
   causing a true and correct copy to be enclosed securely in separate postage pre-paid
   envelopes and delivered via first class mail to those parties listed on the annexed Exhibit A.



1        The Remaining Debtors and the last four digits of their respective federal tax identification number are as
         follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1,
         LLC (0172). The Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks,
         California 91423.




                                                          -1-
              Case 19-51071-JKS        Doc 39       Filed 11/02/21     Page 2 of 4




3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                     /s/ Angela Chachoff
                                                                     Angela Chachoff
 Sworn to before me this
 29th day of October, 2021
 /s/ Andrea R. Speelman
 Andrea R. Speelman
 Notary Public, State of Ohio
 Commission Expires March 21, 2024




                                              -2-
Case 19-51071-JKS   Doc 39   Filed 11/02/21   Page 3 of 4




                    EXHIBIT A
                                                                       Case 19-51071-JKS   Doc 39     Filed 11/02/21   Page 4 of 4

Name                          Address1             Address2                  Address3               Address4               City            State   Zip

DIAZ RETIREMENT CONSULTANTS   ATTN: EDUARDO DIAZ   107 SAN SOUCI AVE                                                       OCEAN SPRINGS   MS      39564-5340
EDUARDO DIAZ                  107 SAN SOUCI AVE                                                                            OCEAN SPRINGS   MS      39564-5340




Page 1 of 1
